                                                               Case
                                                                Case2:12-cr-00268-JAD-CWH
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                                                              6
                                                                   Attorneys for Young Hie Choi
                                                              7
                                                                                                 UNITED STATES DISTRICT COURT
                                                              8
                                                                                                        DISTRICT OF NEVADA
                                                              9

                                                              10     UNITED STATES OF AMERICA,                          CASE NO.: 2:12-cr-00268-JAD-CWH
                                                              11                        Plaintiff;
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                                                                        STIPULATION TO CONTINUE
  KATHLEEN BLISS LAW PLLC




                                                              12           vs.                                          SENTENCING AND PROPOSED ORDER
      HENDERSON NEVADA 89012




                                                              13     YOUNG HIE CHOI, et. al.,                           (Second Request)
                                         TEL – 702.463.9074




                                                              14
                                                                                        Defendants.
                                                              15
                                                                          IT IS HEREBY STIPULATED AND AGREED, by and between Kimberly Frayn,
                                                              16
                                                                   Assistant United States Attorney, counsel for the United States of America; and Kathleen Bliss,
                                                              17
                                                                   counsel for defendant Young Hie Choi, that the sentencing hearing currently set for July 24, 2017,
                                                              18
                                                                   be VACATED and reset to a time convenient for the Court, but no earlier than three weeks from
                                                              19
                                                                   the current date, and preferably the week of August 14, 2017, if the Court’s calendar allows it.
                                                              20
                                                                   This stipulation is entered into based upon the following:
                                                              21
                                                                          1. Counsel for the defendant will be in Reno for two other sentencing hearings on the day
                                                              22
                                                                                 of Ms. Choi’s currently scheduled sentencing date, United States v. Andres Rodriguez,
                                                              23
                                                                                 case no. 3:15-cr-61-HDM-WGC, and United States v. Jose Isais Cabrera, case no.
                                                              24
                                                                                 3:15-cr-64-LRH-WGC.
                                                              25
                                                                          2. The government continues to review defendant’s expert’s loss calculations, and the
                                                              26
                                                                                 parties continue to work on an agreed-upon loss amount.
                                                              27
                                                                          3. Counsel for the United States is scheduled to be out of the office on medical leave
                                                              28

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                                                              1
                                                                              beginning August 21, 2017, therefore a setting for the week of August 14, 2017, is
                                                              2
                                                                              requested.
                                                              3
                                                                          4. The defendant is not incarcerated and does not object to the continuance.
                                                              4
                                                                          5. The parties agree to the continuance. This is the second request to continue the
                                                              5
                                                                              sentencing hearing date filed herein.
                                                              6

                                                              7

                                                              8    Dated this 5th day of June 2017.

                                                              9
                                                                   /S/ Kimberly Frayn_____________                /S/ Kathleen Bliss
                                                              10   Kimberly Frayn                                 Kathleen Bliss, Esq.
                                                              11   Assitant United States Attorney                Attorney for defendant Young Hie Choi
                                                                   Attorney for the United States
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




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      HENDERSON NEVADA 89012




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                                         TEL – 702.463.9074




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                                                              1                               UNITED STATES DISTRICT COURT

                                                              2                                     DISTRICT OF NEVADA

                                                              3
                                                                     UNITED STATES OF AMERICA,                     CASE NO.: 2:12-cr-00268-JAD-CWH
                                                              4
                                                                                     Plaintiff;
                                                              5                                                    ORDER TO CONTINUE SENTENCING
                                                                          vs.                                      HEARING
                                                              6
                                                                     CHOI, et al.,
                                                              7
                                                                                     Defendants.
                                                              8

                                                              9           Based upon the stipulation of counsel, and good cause appearing, IT IS HEREBY
                                                              10   ORDERED that the sentencing hearing currently scheduled for July 24, 2017, be and the same
                                                              11   hereby is VACATED and continued to _____________________  at theofhour
                                                                                                      August 14, 2017 at the hour         of _________.
                                                                                                                                      11:00   a.m.
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




                                                              12        DATED
                                                                         DATEDthis
                                                                               this5th dayday
                                                                                    _____  of June, 2017.
                                                                                              of ___________________, 2017.
      HENDERSON NEVADA 89012




                                                              13
                                         TEL – 702.463.9074




                                                              14                                                      _________________________________
                                                              15                                                      The Honorable Jennifer A. Dorsey
                                                                                                                       United States District Judge
                                                              16

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